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                                         Cartels

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                                          Cartels
                                       Jeffrey M. Perloff



                                            Abstract
     This lecture, PowerPoint slides, and movie provide a relatively non-technical introduction to
cartels. After describing the characteristics of cartels predicted by economic theory, the instructor
shows a movie of the "secret" meetings of the lysine cartel. This movie demonstrates that an actual
cartel behaves as economic theories predict. Although the lecture is designed for undergraduates,
graduate students normally enjoy this introduction as a break from more technical material. The
lecture and the accompanying PowerPoint slides take up the first hour of a 90 minute class, and
the movie (roughly 24 minutes) takes up the rest of the time. The lecture can be reduced to an hour
by skipping the game theory section and going lightly over a few other areas.


KEYWORDS: cartels, oligopoly, antitrust, game theory


Author Notes: I am grateful to Dennis Carlton, John Connor, and Jim Dearden (who edited this
submission).




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                                       Perloff: Cartels



Introduction
Today’s lecture concerns cartels.1 (Slide 1) Cartels are groups of firms that
explicitly coordinate their pricing or output activities. Cartels are particularly
common in oligopolistic markets where there are only a few firms.
         We are going to cover six main topics. (Slide 2) First, cartels are harmful
and common. Second, there are a number of conditions that usually must be met
for a cartel to form. Third, cartels often fail because cartel members cheat on their
agreement. Fourth, there are additional conditions that usually hold for cartels to
prosper and last. Fifth, one of these conditions is that a cartel is more likely to
succeed in markets that last for multiple periods. Sixth, many countries use anti-
trust laws to try to prevent cartels. Seventh, a major recent cartel, the lysine car-
tel, illustrates most of these points. We will conclude the lecture by showing a
tape, filmed secretly by the FBI, of actual meetings of the lysine cartel. This film
demonstrates that economic theories about cartels are consistent with real-world
events.

Cartels: Bad and Ubiquitous
As Adam Smith stated, whenever people in the same industry meet, they have a
tendency to hatch plans to raise prices or take other actions that will increase their
profits. (Slide 3) A truly successful cartel (from the firms’ standpoint) achieves
the same level of profit that a monopoly would—or, at least higher profits than
the firms would make without coordinating activities.
        The resulting higher prices harm consumers and society as a whole. Just
as you learned in your introductory economics course, the extra profit for firms is
less than the loss to consumers.
        We know that cartels form frequently from a variety of pieces of evidence.
Where cartels are not forbidden by law they have been common, as in the United
States in the eighteenth century or Europe until recently. Where the laws of a
single nation cannot affect international cartels involving countries, such as OPEC
(the Organization of Petroleum Exporting Countries), cartels operate freely. We
also know that even when cartels are prohibited by law, they frequently occur.
The U.S. Department of Justice and the Federal Trade Commission frequently
take legal actions against firms who they allege have colluded. We’ll provide
examples later in this lecture.




1
 This lecture draws heavily on material in Carlton and Perloff (2005) and Perloff (2007), for
obvious reasons.


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Why Cartels Form and Firms Cheat
Cartels form because a firm can make a higher profit by coordinating its actions
with other firms than by acting independently. (Slide 4) Although firms that act
independently try to maximize their profits, in doing so, they ignore the effects
their actions have on other firms. For example, a firm will increase its output if it
believes that its own profit will rise even though it knows that by so doing, it will
lower the profit of other firms in the market. (Slide 5) The cartel will take these
externalities into account in setting the optimal cartel output or price.
        Luckily for consumers, many cartels fail even without government
intervention. The reason is that members of the cartel cheat on their agreement by
producing extra output or undercutting the cartel’s price. (Slide 6)
        Although most cartels are formed by oligopolistic firms, we can illustrate
the basic reason why forming a cartel raises collective profits and why firms want
to cheat by using a competitive market example. (Slide 7) Suppose that there are
a large, fixed number of identical, price-taking firms in a market with cost curves
as shown in panel a (the figure on the left). The competitive supply curve is the
horizontal aggregation of the representative individual firm’s supply curve: the
marginal cost (MC) curve above the minimum of the average cost (AC) curve. In
panel b, the supply curve (sum of the individual MC curves) is labeled S. It inter-
sects the market demand curve at pc, the competitive price, and Qc, the competi-
tive quantity. At that price, each of price-taking firm produces qc, as panel a
shows.
        If the firms were to coordinate their actions, they would operate like a
monopoly (thereby maximizing aggregate profit). If the monopoly’s marginal
cost curve is S (panel b), its profit is maximized where S intersects the aggregate
quantity Qm where S intersects its marginal revenue (MR) curve. That is, each of
the individual firms would have to reduce their quantity from qc to qm (panel a) so
that aggregate quantity falls from Qc to Qm (panel b). Question to the class: How
do we know that firm and collective profits rise? [Point out that the cartel free to
pick any output levels it wants including the original, pre-cartel ones. If it
changes from the noncollusive level, it must believe that it is increasing its profit.
One can also use the marginal revenue and marginal cost curves to present a more
formal argument.]
        Notice that, to raise the price, each firm has to restrict its output to qm.
{Segment 5 of the lysine movie shows the cartel members allocating output by
firm.} As shown in the figure on the left, at that quantity, the typical firm is
receiving a price that is above its marginal cost. Thus, a firm could increase its
profit by cheating on the agreement and raising its output level. Assuming that
the other firms do not change their behavior, one firm could cheat without greatly
affecting the cartel price. (The most profitable outcome for any one firm is for all
other firms to run a cartel and for it to act independently.) To maximize its profit,

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it would increase its output to q*. Of course, if it pays for one firm to cheat, then
all have an incentive to cheat.

Conditions for Cartel Success
Economists have identified many conditions for cartels to form, last, and be prof-
itable. (Slide 8) Here, we review some of the major ones. First, the cartel can sig-
nificantly raise prices. Second, the cartel controls most of the market (makes
most of the sales). Third, the organizational costs of forming and running a cartel
are low. Fourth, buyers do not have monopsony power—they are at the mercy of
the cartel. Fifth, the cartel the cartel can be maintained. The cartel has mecha-
nisms that allow it to detect and prevent cheating, and it can avoid prosecution
and punishment by the government.
         It only pays to set up a cartel and risk government prosecution if the
potential rewards are great. (Slide 9) That is, the cartel has to expect that it can
raise prices substantially. It can do that if the demand facing the cartel is not very
elastic. If it were, then even a monopoly cannot raise profit. Question to class:
Why? [Remind them that monopoly price is pm = MC/(1 + 1/ε), where MC is the
marginal cost and ε is the market demand elasticity.] {Segment 4 of the lysine
movie shows cartel members setting prices globally.}
         The cartel cannot raise prices substantial unless the cartel makes most of
the market sales. (Slide 10) Ideally for the cartel, all firms belong to the cartel, or,
at least, all the big firms in the market. Moreover, recycling is not feasible. For
example, a copper cartel sells “new” copper that competes with recycled copper
(old copper products are melted down and the copper is reused). When the cartel
raises its price and profit increases, other firms will want to enter.
         For the cartel to succeed, there must be barriers to prevent such entry.
(Slide 11) Limits to entry are important for cartel success because entrants cannot
dissipate cartel profits.
         Evidence to support this claim is that most cartels occur in markets with
relatively few firms. (Slide 12) (One important exception is that cartels some-
times form in professional associations, often because they get help from govern-
ments through licensing laws or other means.)
         According to a study of Department of Justice price-fixing cases (Hay and
Kelley 1974) from 1963 to 1972, almost half of the cartels (48%) involved six or
fewer firms. Only 6.5% consisted of 50 or more conspirators.
         Of the global cartels from 1990 to 2003 studied by Connor (2003), over
three-quarters (77%) involved six or fewer firms. The median number of corpo-
rations involved was five. Only 13% had 10 or more participants—and most of
those were organized by quasi-official European trade associations.
         Many cartels fail when entry occurs. When a third firm (country) entered
the mercury market, that cartel failed.

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        Cartels are more likely to form and persist if organizational costs are low.
(Slide 13) If there are few firms in the industry, secretly meeting is relatively easy.
(Remember Adam Smith’s comment. Segment 3 of the lysine movie shows cartel
members discussing using the trade association as a front for their secret meet-
ings.) If a few firms make most of the sales in the industry, then those few large
firms may be able to collude among themselves. If output is identical across
firms, then it is easier for firms to agree as to how to limit output or set prices. In
contrast, if each firm produces many, differentiated products, agreeing how to run
the cartel is relatively difficult. Industry organizations’ legal meetings provide a
cover for illicit meetings. These organizations may have data collecting or infor-
mation sharing functions that help cartels enforce their agreements.
        Obviously detecting and preventing cheating by cartel members is crucial
for cartel longevity. (Slide 14) If there are relatively few firms in the cartel, it is
relatively easier to determine which one cheated by producing too much output or
selling at too low a price. If all firms produce identical, homogeneous products,
then it is much easier to see if other cartel members have deviated from the
agreement. Monitoring is easier if purchases are infrequent and large. Some
cartels make monitoring easier by dividing customers between firms (other firms
agree not to try to steal those customers) or by dividing the market geographi-
cally. In recent sophisticate cartels (lysine, vitamins), agreements require that
firms adjust output at the end of the year if one firm sells more than it was allo-
cated. {In segment 7 of the lysine movie, a conspirator explains how this reallo-
cation scheme works.}
        Many other monitoring techniques have been developed to enforce cartel
agreements. (Slide 15) Some bold cartels have agreed to let other firms review
their books. Some use most-favored national clauses in customer contracts in
which they promise to adjust their prices if they later give a better deal to other
customers, thus giving customers an incentive to monitor. Many government
contracts are put out to bid, and government agencies report the winning bid and
company.
        Have you ever gone to an electronics or bed retailer and been offered a
“low price” guarantee? For example, if you find a lower price within a month of
purchasing there, they’ll give you double the difference. That probably made you
feel like you were getting a good deal. However, it might have been part of a
cartel scheme. Such a guarantee gives consumers an incentive to monitor for the
firm.
        Cartels are likely to avoid government prosecution under antitrust laws if
their actions are undetected (e.g., they meet in secret). (Slide 16) Cartels do not
care substantially if they are caught if the punishments are small (which used to
be the case in the United States).



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        Under most antitrust laws, the crime is not raising prices by meeting to do
so. Thus, firms can avoid prosecution if they can agree tacitly (sometimes called
conscious parallelism) but not explicitly. Before the Department of Justice
objected, an airline might announce that it was raising fares in two weeks. If the
other firms made similar announcements, it went ahead and raised fares. Other-
wise it rescinded its announced increase.
        Many international, government-run cartels such as OPEC are effectively
immune to prosecution by authorities in any one country. In the past, the United
States participated in such international agreements (e.g., concerning the price of
international airline tickets).

Cartels over Time
{Optional Section} According to game theory, collusion is extremely difficult in a
one-period game (a market that lasts only briefly). (Slide 17) It is easier in a
multiperiod game.
       We illustrate game theory and determine the Nash equilibrium for a real-
world, single-period game involving a duopoly: an oligopoly with two (duo-)
firms. (Slide 18) We examine how American Airlines and United Airlines actu-
ally compete for customers on flights between Chicago and Los Angeles.2 (Slide
19)
         The total number of passengers flown by these two firms, Q, is the sum of
the number of passengers flown on American, qA, and those flown on United, qU.
The airlines can set the number of flights and the number of seats per flight.
However for simplicity, we assume that the airlines can pick only a relatively
large quantity, 64 units (one unit being 1000 passengers) per quarter, or a rela-
tively small quantity, 48 units per quarter.
         The profit matrix or payoff matrix (Slide 20) shows the profits given the
strategies that the firms choose. For example, if American chooses a large quan-
tity, qA = 64 units per quarter, and United chooses a small quantity, qU = 48 units
per quarter, the firms’ profits are in the cell in the lower left-hand corner of the
matrix. In that cell, American’s profit (upper-right number) is $5.1 million per
quarter, and United’s profit (bottom-left number) is $3.8 million per quarter.
         Because the firms choose their strategies simultaneously, each firm selects
a strategy that maximizes its profit given what it believes the other firm will do.
That is, the firms are playing a noncooperative game of imperfect information in
which each firm must choose an action before observing the simultaneous action
by its rival.
2
 This example is based on Brander and Zhang (1990). They reported data for economy and
discount passengers taking direct flights between the two cities in the third quarter of 1985. In
calculating the profits, we assume that Brander and Zhang’s estimate of the firms’ constant
marginal cost is the same as the firms’ relevant long-run average cost.


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         The firm must choose its best response to the other firm’s strategy given
that it doesn’t know what the other firm will do. The firm rejects any strategy that
is strictly dominated by another strategy. (Slide 21) Strategy 1 strictly dominates
Strategy 2 if Strategy 1 produces at least a profit as high as Strategy 2 does
regardless of the action taken by the rival firm. If one strategy strictly dominates
all other strategies, regardless of the actions chosen by rival firms, the firm should
choose this dominant strategy. Where a firm has a dominant strategy, its belief
about its rival’s behavior is irrelevant.
         Although firms do not always have dominant strategies, they do have them
in this game. To determine American’s dominant strategy, American’s managers
can use the following reasoning: (return to Slide 20)
     • If United chooses the high-output strategy (qU = 64), American’s high-out-
         put strategy maximizes its profit: Given United’s strategy, American’s
         profit is $4.1 million (top-right number in the upper-left cell) with its high-
         output strategy (qA = 64) and only $3.8 million (top-right number in the
         upper-right cell) with its low-output strategy (qA = 48). Thus American is
         better off using a high-output strategy if United chooses its high-output
         strategy.
     • If United chooses the low-output strategy (qU = 48), American’s high-out-
         put strategy maximizes its profit: Given United’s strategy, American’s
         profit is $5.1 million with its high-output strategy and only $4.6 million
         with its low-output strategy.
     • Thus the high-output strategy is American’s dominant strategy: Whichever
         strategy United uses, American’s profit is higher if it uses its high-output
         strategy.
         By the same type of reasoning, United’s high-output strategy is also a
dominant strategy. (Slide 22) Because the high-output strategy is a dominant
strategy for both firms, the pair of high-output strategies, qA = qU = 64, is a Nash
equilibrium.3 In this Cournot-Nash equilibrium, each firm earns $4.1 million. If
the firms colluded, they would choose the “cartel” equilibrium (qA = qU = 48),
where each firm would earn $4.6 million. Thus the sum of the firms’ profits is
not maximized in this simultaneous-choice, one-period game.
         Why don’t the firms cooperate and use the individually and jointly more
profitable low-output strategies, by which each earns a profit of $4.6 million,
3
  We can use the profit matrix to confirm that this pair of strategies is a Nash equilibrium by
showing that neither firm wants to change its strategy if it is certain that the other firm will use its
high-output strategy. If American knew that United would use its high-output strategy, it still
would not switch to its low-output strategy because its profit would fall from $4.1 million to $3.8
million. Similarly, United would not switch if it knew American would use its high-output
strategy. Because neither firm wants to change its strategy given that the other firm is playing its
Nash equilibrium strategy, this pair of strategies (qA = qU = 64) is a Nash equilibrium.



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 instead of the $4.1 million in the Nash equilibrium? (Slide 23) They don’t coop-
 erate due to a lack of trust: Each firm uses the low-output strategy only if the
 firms have an enforceable, binding agreement.
          Suppose that the two firms meet in advance and agree to restrict their out-
 puts to the lower quantity. If the firms are going to engage in this game only
 once, each has an incentive to cheat on their agreement. If American believes that
 United will stick to the agreement and produce qU = 48, American can increase its
 profit from $4.6 million to $5.1 million by violating the agreement and producing
 qA = 64. Moreover, if American thinks that United will also cheat on the agree-
 ment by producing qU = 64, American wants to produce the high output (so that it
 will earn $4.1 million rather than $3.8 million). By this reasoning, each firm has a
 substantial profit incentive to cheat on the agreement. In this type of game—
 called a prisoners’ dilemma game—all players have dominant strategies that lead
 to a profit (or other payoff) that is inferior to what they could achieve if they
 cooperated and pursued alternative strategies.
          Collusion is more feasible in a repeated, multiperiod game. (Slide 24) In a
 single-period game, one firm cannot punish the other firm for cheating on a cartel
 agreement. But if the firms meet period after period, a wayward firm can be pun-
 ished by the other.
          In the single-period game, each firm takes its rival’s strategy as given and
 assumes that it cannot affect its rival’s strategy. However, if the same game is
 played repeatedly, firms engage in a supergame in which players may devise
 strategies for this period that depend on rivals’ actions in previous periods.
          In a repeated game, a firm can influence its rival’s behavior by signaling
 and threatening to punish. One airline could use a low-quantity strategy for a
 couple of periods to signal to the other firm its desire that the two firms cooperate
 and produce that low quantity in the future. If the other firm does not respond by
 lowering its output in future periods, the first firm suffers lower profits for only a
 couple of periods. However, if the other firm responds to this signal and lowers its
 quantity, both firms can profitably produce at the low quantity thereafter.
          In addition to or instead of signaling, a firm can punish a rival for not
 restricting output. We can illustrate how firms punish rivals to ensure collu-
 sion. (Slide 25) Suppose that American announces or somehow indicates to
 United that it will use the following two-part strategy:
    •     American will produce the smaller quantity each period as long as United
 does the same.
    •     If United produces the larger quantity in period t, American will produce
          the larger quantity in period t + 1 and all subsequent periods.
          If United believes that American will follow this strategy, United knows
 that it will make $4.6 million each period if it produces the lower quantity.
 Although United can make a higher profit, $5.1 million, in period t by producing


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 the larger quantity, by doing so it lowers its potential profit to $4.1 million in each
 following period. Thus United’s best policy is to produce the lower quantity in
 each period unless it cares greatly about current profit and little about future prof-
 its. If United values future profits nearly as much as current ones, the one-period
 gain from deviating from the collusive output level does not compensate for the
 losses from reduced profits in future periods, which is the punishment American
 will impose. United may take this threat by American seriously because Ameri-
 can’s best response is to produce the larger quantity if it believes it cannot trust
 United to produce the smaller quantity.4 Thus if firms play the same game indefi-
 nitely, they should find it easier to collude.
          Playing the same game many times, however, does not necessarily help
 the firms collude. (Slide 26) Suppose that the firms know that they are going to
 play the game for T periods. In the last period, they know that they are not going
 to play again, so they know they can cheat—produce a lot of output—without fear
 of punishment. As a result, the last period is like a single-period game, and all
 firms cheat. That makes the T – 1 period the last interesting period. By the same
 reasoning, they’ll cheat in T – 1. Continuing this type of argument, we conclude
 that maintaining a cartel will be difficult if the game has a known stopping point.
 If the players know that the game will end but aren’t sure when, cheating is less
 likely to occur. Collusion is therefore more likely in a game that will continue
 forever or that will end at an uncertain time.

 Reasons for Antitrust Laws
 Before cartels and price fixing were made illegal, cartels thrived. (Slide 27) Car-
 tels (or “trusts” as they were called in the nineteenth century) existed in oil, steel,
 sugar, and many other markets. Eventually Congress acted and passed laws
 establishing the first antitrust law, the Sherman Act, in 1890. In 1914, it also
 passed the Federal Trade Commission Act, which also contained antitrust provi-
 sions.
          These laws prohibit firms from explicitly agreeing to take actions that
 reduce competition, such as meeting to jointly setting price. (Slide 28) These anti-
 cartel laws are called “antitrust laws” in the United States and “competition poli-
 cies” in most other countries.
          At first, the antitrust laws were not enforced and appeared to be very
 weak. (Slide 29) However, starting in 1902, under pressure from President Teddy
 Roosevelt, the Department of Justice (DOJ) brought suits that eventually ended up


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   American does not have to punish United forever to induce it to cooperate. All it has to do
 is punish it for a long enough period that it does not pay for United to deviate from the low-
 quantity strategy in any period.


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 in the Supreme Court. (Slide 30) The resulting decisions established that the laws
 were potent and could be enforced.
         Again, one of the most features of the U.S. antitrust law is that most
 people finding surprising is that it requires explicit agreement between firms.
 One interesting example comes from the airlines industry. (Slide 31) {At this
 point, have two students read the exchange on (Slides 32 and 33). You can get
 some cheap laughs by having them substitute “horsefeathers” or some other anti-
 quated phrase for the symbols used to indicate obscenities.} No antitrust prose-
 cution resulted in this case because there was a lack of a formal agreement. (Slide
 34)
         Until recently, Europe and other areas of the world had much weaker anti-
 trust laws than did the United States. {Segment 2 of the lysine movie is a tele-
 phone conversation in which an Asian co-conspirator is hesitant to meet in the
 United States because of the U.S. antitrust laws.} Now their laws are much closer
 to those of the United States. (Slide 35)
         Both the United States and Europe now use Corporate Leniency Programs
 to induce some cartel members to squeal on the others. (Slide 36)

 Lysine
 An important recent case that illustrates most of the properties of successful car-
 tels that we have just addressed and involved the Corporate Leniency Program
 involved the international lysine industry (see Connor, 2003, and Eichenwald,
 2001). (Slide 37) Lysine is an amino acid that is used as a nutritional supplement,
 in animal feed to promote growth, and for other purposes. At the time it was
 prosecuted, this cartel received the largest penalties to date. In 1996, Archer
 Daniels Midland and other firms pleaded guilty to price fixing in this industry.
         The lysine and its market have many of the properties that lead to a
 successful cartel. (Slide 38) Lysine is a homogenous product. The lysine market
 is highly concentrated: the four largest firms control most of the U.S. and world
 markets. The four largest buyers purchase less than 30 percent of the total mar-
 ket. Buyers make infrequent, large purchases. Entry is difficult because new
 plants are expensive, take years to build, and require people with unusual skills to
 run them.
         We know a lot about this conspiracy because one of the leading partici-
 pants helped the FBI tape the colluders’ “secret” meetings. Their agreement was
 a typical one. (Slide 39) The cartel firms felt that they needed all the major firms
 to participate. {Segment 1 of the lysine movie shows the conspirators discussing
 the various firms involved.} They fixed prices and allocated quantities that could
 be sold to each firm. {The cartel members discuss fixing prices in segment 4 and
 allocating output in segment 5.} They used their industry organization to collect
 data and provide cover for their illicit meeting. {See segment 3.} They shared


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 sales data. {See segment 8. Segment 6 shows the largest firm threatening other
 smaller firms if they do not agree to the cartel and its allocation terms.} They
 had a punishment scheme in place to prevent firms from exceeding their quotas.
 {See segments 7 and 8.}
         Prior to this case, government fines tended to be small relative to the bene-
 fits from the conspiracy. That changed with the lysine case. (Slide 40) Moreover,
 fairly serious individual penalties were assessed. (Slide 41) (Although, notice that
 the heads of the firms avoid jail time.) In the private cases that followed the gov-
 ernment cases, consumers recouped some of their losses. (Slide 42)

 Movie
 Now show the movie. You can request a free copy of the VHS tape, a booklet
 containing transcripts of the tape segments, via mail or fax (202-616-4529) from
 the United States Department of Justice, Antitrust Division, Freedom of Informa-
 tion Act Unit, 325 Seventh Street, N.W., Suite 200, Washington, D.C., 20530.
 The electronic version posted here is of lower quality than the original film (to
 keep its size down).
         It is a good idea to preview the movie first so that you can make com-
 ments before and during running the movie. It helps to explain what is about to
 happen in each segment and how that segment connects to the points in the lec-
 ture. Details on the various segments of the movie are available in a speech by
 James M. Griffin, Deputy Assistant Attorney General, Antitrust Division, U.S.
 Department of Justice, http://www.usdoj.gov/atr/public/speeches/4489.htm, pro-
 vides. If you are familiar with the background (e.g., read Eichenwald’s The
 Informant), you can tell your students about the bizarre behavior of Mark
 Whitacre and his role. You might want to skip the last segment, which is difficult
 to follow, and the first section, which mainly introduces the players and shows
 their contempt for customers and antitrust authorities. I’ve shown this film to
 both undergraduates and graduate students. It is a big hit with both groups. Stu-
 dents are happy to sit through the entire movie without squirming.




 DOI: 10.2202/1935-5041.1005                                                             10




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                                    Perloff: Cartels


        To make downloading easier and to allow you to show just a subset of the
 movie easily, the movie has been divided into sections:

 Segment Title, length
 1       The DOJ title (28 seconds); “January 18, 1995, Cartel Meeting in
         Atlanta, Georgia, Cartel members show disdain for customers and
         antitrust enforcement” (2 minutes, 54 seconds)
 2       “July 13, 1993, Telephone Call from ADM Headquarters, foreign co-
         conspirator expresses reluctance to meet in the United States” (1
         minute, 54 seconds) [Taped phone conversation with text appearing on
         the screen.]
 3       “March 10, 1994, Cartel Meeting in Maui, Hawaii, Cartel members use
         trade association as a cover for conspiracy meetings” (1 minute, 47
         seconds)
 4       “March 10, 1994, Cartel Meeting in Maui, Hawaii, Cartel members fix
         price on a global basis” (2 minute, 41 seconds)
 5       “October 25, 1993, Cartel Meeting in Irvine, California, Cartel mem-
         bers allocate worldwide sales volumes” (3 minutes, 28 seconds)
 6       “October 25, 1993, Cartel Meeting in Irvine, California, Co-conspira-
         tor threatens retaliation if others don’t agree to proposed market allo-
         cation scheme” (2 minutes, 48 seconds)
 7       “March 10, 1994, Cartel Meeting in Maui, Hawaii, Co-conspirator
         explains how end-of-year compensation scheme eliminates the incen-
         tive to cheat on the cartel” (2 minutes, 31 seconds) [High point of the
         movie: One of ADM’s executives tells other firms that the customers
         are their enemies and that only the various firms are their friends.]
 8       “January 18, 1995, Cartel Meeting in Atlanta, Georgia, Cartel mem-
         bers report end-of-year sales figures and find that sales volumes ‘were
         right on target’” (4 minutes, 49 seconds)




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